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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
In Re Banc of California Securities Litigation                      CASE NUMBER

                                                                                  SAMC19-00005 DOC(JDEx)
                                                     PLAINTIFF(S)
                              v.
                                                                            ORDER RE TRANSFER PURSUANT
                                                                              TO GENERAL ORDER 16-05
                                                                                  (RELATED CASES)
                                                   DEFENDANT(S).

                                                             CONSENT

      I hereby consent to the transfer of the above-entitled case to my calendar, pursuant
                                                                                     suant to General Order
                                                                                                      Orde
                                                                                                        d r 16-05.

             February 14, 2019                                       Andrew J. Guilford
                   Date                                             United States District
                                                                                      rict Judge

                                                          DECLINATION
      I hereby decline to transfer the above-entitled case to my calendar for the reasons set forth:




                      Date                                          United States District Judge

                               REASON FOR TRANSFER AS INDICATED BY COUNSEL
      Case SACV17-00118 AG(DFMx) and the present case:

 ✔    A.        Arise from the same or closely related transactions, happenings or events; or
 ✔    B.        Call for determination of the same or substantially related or similar questions of law and fact; or
 ✔    C.        For other reasons would entail substantial duplication of labor if heard by different judges; or
      D.        Involve one or more defendants from the criminal case in common, and would entail substantial
                duplication of labor if heard by different judges (applicable only on civil forfeiture action).


                                             NOTICE TO COUNSEL FROM CLERK
           Pursuant to the above transfer, any discovery matters that are or may be referred to a Magistrate Judge are hereby
transferred from Magistrate Judge                  John D. Early         to Magistrate Judge        Douglas F. McCormick    .

           On all documents subsequently filed in this case, please substitute the initials AG(DFMx) after the case number
in place of the initials of the prior judge, so that the case number will read SAMC19-00005 AG (DFMx) . This is very
important because the documents are routed to the assigned judges by means of these initials


cc:        Previous Judge       Statistics Clerk
CV-34 (10/16)                   ORDER RE TRANSFER PURSUANT TO GENERAL ORDER 16-05 (Related Cases)
